                                Case 3:07-cv-01587-JL Document 121 Filed 05/09/08 Page 1 of 2




                                ALLEN MATKINS LECK GAMBLE
                                 MALLORY & NATSIS LLP
                                BALDWIN J. LEE (Bar No. 187413)
                                JENNIE L. LEE (Bar No. 191350)
                                Three Embarcadero Center, 12th Floor
                                San Francisco, CA 941 11-4074
                                Phone: (415) 837-1515
                                Fax: (415) 837-1516
                                E-Mail: blee@allenmatkins.com
                                        jlee@allei~matkins.coin
                                STOEL RIVES LLP
                                CHRIS KITCHEL (Pro Hac Vice)
                                MATT PHILLIPS (Pro Hac Vice)
                                DENNIS WESTLIND (Pro Hac Vice)
                                900 SW Fifth Avenue, Suite 2600
                                Portland, OR 97204
                                Phone: (503) 224-3380
                                Fax: (503) 220-2480
                                E-Mail: ckitcl~el@stoel.com
                                        mcphillips@stoel.coiii
                                         dewestlind@stoel.com


                            I   Attorneys for Defendant
                                MENTOR GRAPHICS CORPORATION

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                                                                                                                 ,"rq
                                                                    UNITED STATES DISTRICT COURT                   .I.
                                                                                                                1 *,

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                     l5     I                                      NORTHERN DISTRICT OF CALIFORNIA


                                DR. AJAY SINGHAL,                                I Case No. C07-01587-JL
                            II           vs.
                                                   Plaintiff,                    1-        ORDER GRANTING PARTIAL
                                                                                  SUMMARY JUDGMENT

                            1   MENTOR GRAPHICS CORPORATION,
                                                                                  DATE: MAY 14,2008
                                                                                  TIME: 9:30 A.M.
                                                                                  CRTM: F
                                                                                  CHIEF MAGISTRATE JUDGE JAMES
                                                                                  LARSON




       LAW OFFICES
Allen Matklns Leek Gamble
                                                                                        Case No. C07-01587-JL
  Mallory B Natsla LLP                                                                  [PROPOSED] ORDER GRANTING
                                Page 1                                                  PARTIAL SUMMARY JUDGMENT
                                PortInd3-1620091.I 0049553-00141
                                 Case 3:07-cv-01587-JL Document 121 Filed 05/09/08 Page 2 of 2




                         I
                     1 Defendant Mentor Graphics Corporation filed a motion for partial summary judgment on March
                         (1
                     2 13,2008. Based upon the evidence and argument submitted by defendant, and plaintiff's

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                     3 acknowledgelnent that he has no good faith basis to oppose defendant's motion, partial summary



                         I
                     4 judgment is granted as follows:
                                        1.       Mentor Graphics is the sole owner of all inventions claimed and described in
                     5
                                United States Patent Application No. 101827,990 (the "'990 Application"), United States Patent
                                Application No. 10/951,710 (the "'7 10 Application"), United States Patent Application No.
                         (
                     8 111126,069 (the "'069 Application"), United States Patent Application No. 111123,340 (the "'340

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                     9 Application"), and any related United States, iiltemational or foreign patent applications

                       I
                    10 (collectively, the "Patent Applications");

                    l1 1                 2.       Plaintiff is not an invei~torof the '990 Application;

                    12    1              3.       Plaintiff is not ail inventor of the '7 10 Application;
                                         4.       Plaintiff is not an inventor of the '069 Application;

                                         5.       Plaintiff is not ail inventor of the '340 Application; and

                    l5   1I    6.     Neither Mentor Graphics nor any of the named inventors acted with deceptive

                            Y
                    16 intent regarding the invei~torsl~ip
                                                        of the Patent Applications.

                    l7      I            The l~earingdate of May 14,2008 is hereby vacated.
                                IT IS SO ORDERED.


                                                                                     (J%n...
                                                                                       --      James Larson
                                                                                          Chief Magistrate Judge




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Allen Matklns Leck Gemble
                                                                                               Case No. C07-01587-JL
  WIllory 8 Netsb LLP                                                                          [PROPOSED] ORDER GRANTING
                                Page 2                                                         PARTIAL SUMMARY JUDGMENT
                                Portlnd3-1620091.10049553-00141
